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                          UNITED STATES DISTRICT COURT
                                      For the
                              DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                v.                              CASE NO. 23-mj 20


JOSEPH PAVLIK
                                        APPEARANCE



To the Clerk of this court and all parties of record:

Enter my appearance as co-counsel in this case for Joseph Pavlik
                                                    Defendant

        I hereby certify under penalty of perjury that I am a member in good standing of
the bar of the following courts since 1985: United States District Court for the Northern
District of Illinois; United States District Court for the Northern District of Indiana; and
the United States District Court for the Central District of Illinois and the State of Illinois,
and United States District Court for DC (since 2020). I further certify that I am not the
subject of suspension or disbarment from any court.


                                                United States District Court for DC (2020)
                                                ___________________________
                                                Year of Admission


                                                Lawrence S. Beaumont

February 3, 2023                        __________________________
                                              Signature of Attorney

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